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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                            )
STEPHEN F. CASS,                                            )
           Plaintiff,                                       )
                                                            )
v.                                                          )
                                                            )       C.A. NO. 1:17-cv-11441
TOWN OF WAYLAND and the WAYLAND PUBLIC                      )
SCHOOLS,                                                    )
         Defendants.                                        )
                                                            )

     TOWN OF WAYLAND’S MOTION TO FILE UNDER SEAL CERTAIN RECORDS
          RELATING TO DEFENDANTS’ MOTION TO VACATE OR, IN THE
      ALTERNATIVE, TO COMPEL PRODUCTION OF PLAINTIFF’S PREVIOUSLY
            UNDISCLOSED MENTAL HEALTH TREATMENT RECORDS

        Pursuant to Local Rule 5.4, The Town of Wayland and the Wayland Public Schools

(“Town”) respectfully move this Court for leave to file under seal the five pages of deposition

testimony annexed as Exhibit D to the letter hand-delivered to the Court on October 11, 2019. The

Town’s Motion for Leave to File Under Seal is necessary due to the highly sensitive and personal

nature of the contents of said Exhibit, which was subject to a Confidentiality Agreement between

the parties not previously filed with the Court.

        Accordingly, the Town respectfully requests that this Court grant the Motion to File

Under Seal.
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                                       Respectfully submitted,
                                       The Defendants,
                                       TOWN OF WAYLAND AND
                                       THE WAYLAND PUBLIC SCHOOLS,
                                       By their attorneys,
                                       PIERCE DAVIS & PERRITANO LLP

                                       /s/ John M. Wilusz
                                       Adam Simms, BBO #632617
                                       John M. Wilusz, BBO #684950
                                       John J. Davis, BBO #115890
                                       10 Post Office Square, Suite 1100N
                                       Boston, MA 02109
                                       (617) 350-0950
                                       asimms@piercedavis.com
                                       jwilusz@piercedavis.com
                                       jdavis@piercedavis.com


Dated: October 16, 2019




                                 CERTIFICATE OF SERVICE

I hereby certify that the foregoing document, filed through the Electronic Case Filing System,
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing and that a paper copy shall be served upon those indicated as non-registered participants
on October 16, 2019.

                                       /s/ John M. Wilusz
                                       John M. Wilusz
